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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GRACIELA DONCOUSE,
Plaintiff, 23-cv-1054 (JGR)
- against - ORDER
GL CONCEPTS LCC, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

As discussed at the conference held on October 3, 2023, the
time for the plaintiff to apply by letter for restoration of the
action is extended to October 20, 2023.

SO ORDERED.

s. ‘\ /
Dated: New York, New York Nb LU. 3
October 3, 2023 PJ (ofl cl

John G. Koeltl
United States District Judge

